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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
BALTIMORE DIVISION
ALEXIS VARGAS,

Plaintiff,

TMec

Vv. Case No. 1:17-cv-02785-GHeR

EQUIFAX INFORMATION
SERVICES, LLC, et al.

Defendants.
DISMISSAL ORDER

THIS DAY CAME the Plaintiff, ALEXIS VARGAS, and the Defendant EXPERIAN
INFORMATION SOLUTIONS, INC., by counsel, and hereby move the Court to dismiss with
prejudice all claims against Defendant EXPERIAN INFORMATION SOLUTIONS, INC., in the
above-styled action.

UPON CONSIDERATION of the representations of counsel and for other good cause
shown, it is, hereby ORDERED, ADJUDGED, and DECREED that the Complaint against
Defendant EXPERIAN INFORMATION SOLUTIONS, INC., LLC is DISMISSED with
prejudice.

AND THIS CAUSE IS ENDED.

Entered this w~ day of MARCH 2018.

 
